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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

BENJAMIN BEDOGWAR ORYANG,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )   Case No. 2:19-cv-01615-AMM-HNJ
                                            )
BILLY MITCHEM, et al.,                      )
                                            )
       Defendants.                          )

                          MEMORANDUM OPINION

      The magistrate judge filed a report on October 20, 2020, recommending that

the plaintiff’s claims against Warden Billy Mitchem, Dr. John Doe (I), Dr. Jane Doe,

Nurse Jane Doe, Dr. John Doe (II), Dr. John Doe (III), Nurse Practitioner Joseph

Guthrie, Correctional Medical Services (“CMS”), Naphcare, and Prison Health

Services (“PHS”) be dismissed without prejudice, pursuant to 28 U.S.C. §

1915A(b)(1), for failing to state a claim upon which relief can be granted. Doc. 15.

The magistrate judge further recommended that the claims for monetary and or

prospective injunctive relief against Dr. Tahir Siddiq, Nurse Practitioner John Doe,

Dr. Perryman, Nurse Practitioner Ms. Waugh, ADA Coordinator Lt. Parker, Warden

Joseph Headley, Commissioner Dunn, the Alabama Department of Corrections

(“ADOC”), Corizon, and Wexford Health Services, be severed and transferred to the

United States District Court for the Middle District of Alabama. Id.
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      Mr. Oryang filed objections to the report and recommendation. Doc. 16. He

asserts the magistrate judge erroneously reported the facts underlying his claims. Id.

at 1-2, 4-8, 13. However, other than the erroneous omission of Dr. Bell as a named

defendant by the magistrate judge (which appears to be a scrivener’s error), the court

finds the magistrate judge correctly reported the facts and parties material to the

plaintiff’s claims. Accordingly, the objection is OVERRULED, but the magistrate

judge’s recommendation is accepted with the modification that Dr. Bell is included

as a named defendant.

      Next, Mr. Oryang asserts that Eleventh Amendment immunity does not bar

his claims for monetary damages and injunctive relief against “state officials or state

actors;” therefore, it would be error to dismiss such claims against the ADOC. Id. at

8. The magistrate judge correctly explained the law on this point. Doc. 15 at 7. Based

on that law, the inclusion of Mr. Oryang’s claim for monetary relief against the

ADOC in the magistrate judge’s transfer recommendation appears to be a scrivener’s

error. Accordingly, the objection is OVERRULED, but the magistrate judge’s

recommendation is accepted with the modification that Mr. Oryang’s claims for

monetary relief and claims for retrospective injunctive relief against the ADOC are

dismissed, not transferred.




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      Mr. Oryang also argues that the magistrate judge erred in reporting that his

claims against Warden Billy Mitchem, Dr. John Doe (I), Dr. Jane Doe, Nurse Jane

Doe, Dr. John Doe (II), Dr. John Doe (III), Nurse Practitioner Joseph Guthrie as well

as his claims against CMS, NaphCare, and PHS, are barred by the applicable statute

of limitations. Id. at 3, 8-9. The magistrate judge correctly reported that, based on

the dates of the plaintiff’s institutional transfers and the date each medical provider

ceased providing services to ADOC inmates, his claims against these defendants are

untimely even if considered under a continuing violation theory. Doc. 15 at 9-12.

Accordingly, this objection is OVERRULED.

      Finally, Mr. Oryang objects that the magistrate judge failed to address each of

his specifically listed constitutional claims against the defendants and protests the

severance and transfer of his claims to the Middle District of Alabama. Doc. 16 at

11-12. No further discussion is necessary for the claims that fail because of the

statute of limitations. Nor is any further discussion required for the remaining claims

because the court finds that, for the reasons the magistrate judge identified, for the

convenience of the parties and witnesses, and in the interest of justice, the remaining

claims warrant severance and transfer to the Middle District of Alabama. See 28

U.S.C. § 1404(a).




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      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, and the objections thereto, the

court ADOPTS the magistrate judge’s report and ACCEPTS his recommendation,

MODIFIED (1) to include Dr. Bell as a defendant, and (2) to dismiss rather than

transfer Mr. Oryang’s claim for monetary relief against the ADOC.

      A Final Judgment and Order to Sever and Transfer will be entered in

accordance with this opinion.

      DONE and ORDERED this 12th day of January, 2021.



                                   _________________________________
                                   ANNA M. MANASCO
                                   UNITED STATES DISTRICT JUDGE




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